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PENALTY SLIP

DEFENDANT NAME: ALEXIS JOEL GARCIA PALOMINO
TOTAL NO. COUNTS: 1

VIO: 21 U.S.C. §§ 841(a)(1), (b)(1)(A)Gi)(D and (viii), 846
Conspiracy to Distribute 500 Grams or More of a Mixture or Substance
Containing a Detectable Amount of Methamphetamine and 5 Kilograms
of Cocaine

PENALTY: CAG not less than 10 years nor more than life;
and/or $10,000,000 fine;
not less than 5 years nor more than life supervised release;
a $100 special penalty assessment; and
denial of certain federal benefits pursuant to

21 U.S.C. §§ 862 and 862a

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

CASE
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